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fe Boston ey HARVARD MEDICAL SCHOOL
Children's 2) TEACHING HOSPITAL
KY Hospital

Department of Neurology

541 Main Street, Suite 216, Weymouth, MA 02190
781-216-3763 | fax 781-216-3793

September 5, 2018

The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

Dear Sir:

November 2012. I last saw him on July 23, 2018. has an Attention Deficit Disorder and
takes medication for this every school day.

lam a pediatric neurologist involved in the a: BB scceten (DOB: 2/1 f since

is father’s absence from home would put significant strain and stress on d his
family. Due to his disorder he requires more support and supervision than one would suspect
for his age. I ask you to please consider this in father’s case.

Exyigene Roe, M.D.
Attending Neurologist
